     Case 2:18-cv-00318-JCM-DJA Document 80 Filed 01/08/21 Page 1 of 3



 1   Lisa Wiltshire Alstead (NSBN 10470)
     Laura Jacobsen (NSBN 13699)
 2   MCDONALD CARANO LLP
     100 West Liberty Street, 10th Floor
 3   Reno, NV 89501
     Telephone: (775) 788-2000
 4   Facsimile: (775) 788-2020
     lalstead@mcdonaldcarano.com
 5   ljacobsen@mcdonaldcarano.com

 6   Attorneys for Defendant/Counterclaimant
     Schnadig International Corp.
 7

 8                             UNITED STATES DISTRICT COURT

 9                                     DISTRICT OF NEVADA

10

11   FURNITURE ROYAL, INC., a Nevada            CASE NO.: 2:18-cv-00318-JCM-DJA
     Corporation,
12                                              NOTICE OF ENTRY OF
                          Plaintiff,            AMENDED JUDGMENT
13
     vs.
14
     SCHNADIG INTERNATIONAL CORP.,
15   d/b/a CARACOLE, a North Carolina
     Corporation,
16
                       Defendant.
17   ______________________________________
     SCHNADIG INTERNATIONAL CORP.,
18   d/b/a CARACOLE, a North Carolina
     Corporation,
19
                         Counterclaimant,
20
     vs.
21
     FURNITURE ROYAL, INC., a Nevada
22   Corporation,
23                       Counterdefendant.
24

25          PLEASE TAKE NOTICE that on November 18, 2020, the above-entitled Court entered
26   its Amended Judgment in Civil Case.
27          ///
28          ///
     Case 2:18-cv-00318-JCM-DJA Document 80 Filed 01/08/21 Page 2 of 3




 1         A copy of the Order is attached hereto as Exhibit 1.

 2         Respectfully submitted this 8th day of January, 2021.

 3                                              McDONALD CARANO LLP

 4                                              By: /s/ Laura R. Jacobsen
                                                Lisa Wiltshire Alstead (#10470)
 5                                              Laura R. Jacobsen (#13699)
                                                100 W. Liberty St., 10th Floor
 6                                              Reno, NV 89501
                                                lalstead@mcdonaldcarano.com
 7                                              ljacobsen@mcdonaldcarano.com
 8
                                                Attorneys for Defendant/Counterclaimant
 9                                              Schnadig International Corp.

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                   2
     Case 2:18-cv-00318-JCM-DJA Document 80 Filed 01/08/21 Page 3 of 3




 1                                   CERTIFICATE OF SERVICE

 2          Pursuant to F.R.C.P. 5(b), I hereby certify that I am an employee of McDONALD

 3   CARANO LLP and that on January 8, 2021, I certify that I was caused to be delivered in the

 4   United States mail, enclosed in a sealed envelope, upon which first class postage was placed, a

 5   true copy of NOTICE OF ENTRY OF AMENDED JUDGMENT IN CIVIL CASE addressed

 6   to the following individual at his last known address as follows:

 7          Furniture Royal, Inc.
            2000 S. Rainbow Blvd.
 8          Las Vegas, NV 89146
 9
                                                       /s/ Pamela Miller
10                                                An Employee of McDonald Carano LLP
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                     3
